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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


   DAMIAN STINNIE, MELISSA
   ADAMS, and ADRAINNE JOHNSON,
   individually, and on behalf of all others
   similarly situated; WILLIEST BANDY,
   and BRIANNA MORGAN, individually,           Civ. No: 3:16-cv-00044
   and on behalf of all others similarly
   situated,

        Plaintiffs,

            v.

   RICHARD D. HOLCOMB, in his official
   capacity as the Commissioner of the
   VIRGINIA DEPARTMENT OF MOTOR
   VEHICLES,

        Defendant.



                 PLAINTIFFS’ MEMORANDUM IN SUPPORT OF PETITION
                  FOR ATTORNEYS’ FEES AND LITIGATION EXPENSES
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         Plaintiffs move for attorneys’ fees and expenses under 42 U.S.C. § 1988 and submit the

  following Memorandum in Support of Petition for Attorneys’ Fees and Litigation Expenses:

                                          INTRODUCTION

         Plaintiffs are the prevailing parties.

         Virginia Code Ann. § 46.2-395 (hereinafter “§ 46.2-395” or “Section 46.2-395”)

  breached the promise of procedural due process made to all Americans regardless of race and

  poverty. A little over two years ago, Chief Judge Gregory remarked that: “By suspending the

  licenses of those who cannot pay for reasons outside their control, the state traps thousands of

  Virginians in a nightmarish spiral for which there is no apparent exit.” Stinnie v. Holcomb, 734

  F. App’x 858, 864 (4th Cir. 2018) (Gregory, C.J., dissenting) (emphasis added). That exit finally

  came when this Court granted Plaintiffs’ requested preliminary injunction.

         When Plaintiffs began this litigation, they had a simple goal—to stop the Commissioner

  of the Virginia Department of Motor Vehicles (the “Defendant”) from unjustly punishing their

  poverty through the suspension of their driver’s licenses without due process under § 46.2-395.

  On December 21, 2018, Plaintiffs achieved that goal when this Court ended that unjust

  punishment through its well-reasoned and warranted preliminary injunction. The Court’s

  preliminary injunction changed Plaintiffs’ lives. It gave them dignity, a chance to provide for

  themselves and their families, and a real opportunity to break the cycle of poverty. And just as

  importantly, it recognized the unconstitutionality of § 46.2-395. The Court determined, on the

  merits, that it was “likely that Plaintiffs [would] succeed in establishing that § 46.2-395 violates

  procedural due process.” Stinnie v. Holcomb, 355 F. Supp. 3d 514, 532 (W.D. Va. 2018).

         This Court’s preliminary injunction was the defining moment of this litigation—it

  addressed the substantive merits of Plaintiffs’ case against § 46.2-395 and granted relief. In the



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  months following that material alteration of the legal relationship between Plaintiffs and

  Defendant, a bi-partisan majority of the Virginia General Assembly joined forces to repeal the

  statute – even as the preliminary injunction continued to remain in effect as an independent and

  preexisting source of relief from § 46.2-395 to Plaintiffs. That the legislature later chose to act

  does not detract from Plaintiffs’ entitlement to fees as prevailing parties based on the preliminary

  injunction. Supreme Court precedent and case law from courts around the country interpreting

  that precedent support Plaintiffs’ entitlement to fees.

                        FACTUAL AND PROCEDURAL BACKGROUND

  I.     Section 46.2-395 punished those unable to pay their court debt for their poverty
         without due process.

         For years, the Commonwealth of Virginia denied Plaintiffs procedural due process,

  among other things, by automatically suspending driver’s licenses for failure to pay court debt

  without holding a hearing or invoking any process whatsoever to determine ability to pay. See

  Va. Code Ann. § 46.2-395. Plaintiffs were unable, not unwilling, to pay their court debt. (ECF

  84 ¶ 88.) Indeed, this Court found that Plaintiffs could not afford to pay. Stinnie, 355 F. Supp.

  3d at 520–23. In doing so, the Court noted the many struggles Plaintiffs have endured that have

  adversely affected their ability to pay their court debt, like serious illness, unemployment, and

  incarceration. See id. Despite Plaintiffs’ inability to pay, this Court found that none of them

  were asked about their financial circumstances prior to license suspension. See id.

  II.    Plaintiffs sued to defend their constitutional rights, but this Court dismissed the
         Complaint finding a lack of subject matter jurisdiction.

         In July 2016, Plaintiffs took a stand to end the harm § 46.2-395 had been causing. (ECF

  1.) They sued Defendant, claiming constitutional violations stemming from § 46.2-395. (Id. ¶¶




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  322–365.) Plaintiffs sought certain declaratory and injunctive relief, as well as attorneys’ fees

  and costs under 42 U.S.C. § 1988. (Id. at 43–44.)

         This Court dismissed the case on the grounds that it lacked jurisdiction under the Rooker-

  Feldman doctrine, Article III, and Eleventh Amendment immunity. See Stinnie v. Holcomb,

  Case No. 3:16-cv-00044, 2017 WL 963234, at *20 (W.D. Va. Mar. 13, 2017). Plaintiffs

  appealed the dismissal. (ECF 74.)

  III.   The case went to the Fourth Circuit, which allowed the case to go forward,
         remanding with instructions to permit Plaintiffs to amend their Complaint.

         On appeal, the United States Court of Appeals for the Fourth Circuit (the “Fourth

  Circuit”) determined that it “lack[ed] jurisdiction to consider Plaintiffs’ appeal because the

  district court’s dismissal without prejudice was not a final order.” Stinnie, 734 F. App’x at 861.

  The Fourth Circuit “remand[ed] the case to the district court with instructions to allow Plaintiffs

  to amend their complaint” because it concluded Plaintiffs could cure any deficiencies that had

  been identified by the Court in its dismissal order. See id. at 860–63.

         Chief Judge Gregory dissented because he concluded “the district court’s dismissal of

  Plaintiffs’ case for lack of jurisdiction [was] an appealable final order.” Id. at 863 (Gregory,

  C.J., dissenting). He would have reached the merits and determined that this Court improperly

  dismissed the action on jurisdictional grounds. See id. Chief Judge Gregory’s well-reasoned and

  thoughtful opinion strongly hinted at the eventual resolution of this case in Plaintiffs’ favor. (See

  id. at 863–64 (detailing Virginia’s driver’s license scheme which did “not differentiate between

  those unable to pay from those unwilling to pay”); id. at 864–65 (noting the disastrous impact the

  statute had on Virginians).

         Chief Judge Gregory hit the nail on the head characterizing § 46.2-395 as Defendant’s

  “license-for-payment scheme.” See id. at 863–64. Virginia was charging people about a half-

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  billion dollars in court fines and fees and was using the money to fund the government. See id.

  Then Defendant was automatically suspending licenses for nonpayment without considering

  ability to pay. See id. The system was wrong, the harm caused by the inequitable treatment

  under the statute was severe, and Plaintiffs would win relief from that practice.

  IV.    On remand, Plaintiffs filed their First Amended Class Action Complaint and
         Motion for Preliminary Injunction on the same day.

         In September 2018, Plaintiffs filed their First Amended Class Action Complaint in this

  Court, alleging, like the first Complaint, that § 46.2-395 was unconstitutional. (ECF 84 at 37–

  43.) As they had in their initial Complaint, Plaintiffs sought declaratory and injunctive relief, as

  well as attorneys’ fees and costs under 42 U.S.C. § 1988. (Id. at 43–44.) At the same time,

  Plaintiffs filed a Motion for Preliminary Injunction, asking this Court to: (1) enjoin Defendant

  from enforcing § 46.2-395 against Plaintiffs without notice and a determination of ability to pay;

  (2) remove any current suspensions of Plaintiffs’ driver’s licenses imposed under § 46.2-395;

  and (3) enjoin Defendant from charging a fee to reinstate Plaintiffs’ licenses if no other

  restrictions on their licenses existed. (ECF 88 at 1.)

         In November 2018, Defendant once again moved to dismiss the First Amended Class

  Action Complaint based on the Rooker-Feldman doctrine, Article III standing, immunity, and

  failure to state a claim on which this Court could grant relief. (ECF 104; ECF 105.) As further

  discussed below, after this Court granted the preliminary injunction, Defendant moved for a stay,

  which this Court granted. (ECF 215.)

  V.     This Court granted the preliminary injunction on the merits, materially altering the
         legal relationship among the parties.

         Following briefing by the parties and a hearing involving several hours of testimony,

  including expert evidence, this Court granted Plaintiffs’ Motion for Preliminary Injunction on



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   December 21, 2018, relieving Plaintiffs from the scourge of § 46.2-395 and signaling that it

   likely failed to accord with constitutional guarantees of due process. Stinnie, 355 F. Supp. 3d at

   527–32; (ECF 127).

           In its opinion, this Court made it clear that it was “turn[ing] to the merits of the

   preliminary injunction.” 355 F. Supp. 3d at 527. This preliminary injunction did not maintain

   the status quo, it upended it. In deciding the merits of the preliminary injunction, this Court

   turned, as it should, to the “govern[ing]” test from Winter v. Natural Resources Defense Council,

   Inc., 555 U.S. 7 (2008). 355 F. Supp. 3d at 527. It specifically noted that “[t]o obtain a

   preliminary injunction, the moving party must establish ‘that he is likely to succeed on the

   merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

   balance of equities tips in his favor, and that an injunction is in the public interest.’” Id.

           This Court then concluded that Plaintiffs showed they were likely to succeed, at the very

   least, on their procedural due process claim. See id. In so ruling, the Court carefully examined

   the notice and hearing components of procedural due process. See id. at 528–31. The Court

   determined that “Plaintiffs . . . made a clear showing that they are likely to establish that they are

   not provided an opportunity to be heard.” Id. at 529. And, of course, having an opportunity to

   be heard is crucial to procedural due process. See Snider Int’l Corp. v. Town of Forest Heights,

   Md., 739 F.3d 140, 146 (4th Cir. 2014).

           This Court recognized that § 46.2-395 failed the hearing requirement of procedural due

   process. Stinnie, 355 F. Supp. 3d at 529 (“Plaintiffs are likely to show § 46.2-395 does not

   provide any hearing, much less one that satisfies due process.”) (emphasis in original); id. at

   529–530 (“The Court determines that Plaintiffs are likely to succeed because the procedures in

   place are not sufficient to protect against the erroneous deprivation of the property interest



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   involved. Indeed, § 46.2-395, on its face, provides no procedural hearing at all.”). That was

   precisely what Plaintiffs had been arguing all along. (ECF 1 ¶¶ 410-18; ECF 84 ¶¶ 323-31 (“In

   the absence of notice and hearing, which do not presently exist under Virginia law in relation to

   driver’s license suspensions for unpaid court debt, the risk is very high that a debtor will be

   deprived of his or her driver’s license for reasons attributable to his or her poverty.”).)

          The preliminary injunction opinion marched through the Mathews factors for procedural

   due process. See id. at 529–31 (citing Mathews v. Eldridge, 424 U.S. 319 (1976)). In doing so,

   it considered the parties’ arguments on the merits. Id. This Court also determined that the rest of

   the Winter factors, “irreparable harm, the balance of equities, and the public interest,” all

   counseled in Plaintiffs’ favor. Id. at 532. First, “[i]rreparable harm [was] clearly demonstrated

   through the facts surrounding Plaintiff Stinnie.” Id. Regarding the balance of equities, and the

   public interest, the Court noted that it would actually help Virginia for the Court to enjoin

   unconstitutional activity. See id. And no interest Virginia might have had was “furthered by a

   license suspension scheme that neither consider[ed] an individual’s ability to pay nor provide[d]

   him with an opportunity to be heard on the matter.” See id. Thus, the harm to Plaintiffs

   stemming from § 46.2-395 “outweigh[ed] any harm the issuance of a preliminary injunction

   would cause others.” Id.

          In granting the injunction, this Court ordered that: 1) Defendant was “preliminarily

   enjoined from enforcing . . . § 46.2-395 against Plaintiffs unless or until [Defendant] or another

   entity provide[d] a hearing regarding license suspension and provide[d] adequate notice thereof;”

   2) Defendant must “remove any current suspensions of Plaintiffs’ driver’s licenses imposed

   under . . . § 46.2-395;” and 3) Defendant was “enjoined from charging a fee to reinstate

   Plaintiffs’ driver’s licenses if there [were] no other restrictions on their licenses.” (ECF 127 at



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   1.) Defendant did not appeal the preliminary injunction, and, consistent with the preliminary

   injunction, provided the relief the Plaintiffs had fought for and prevailed upon via the

   preliminary injunction.

   VI.    In recognition of the impact of the preliminary injunction, a bi-partisan majority in
          the Virginia General Assembly repealed § 46.2-395.

          The preliminary injunction was a critical event that raised the profile of this litigation in

   the General Assembly. For example, less than a month after the preliminary injunction, Senator

   William M. Stanley, who sponsored the legislation repealing § 46.2-395, remarked, “Hopefully

   with the preliminary injunction being granted, anybody who has doubts about [the bill to end the

   required license suspensions for nonpayment of court debt] will remove them. I hope the House

   of Delegates will join the Senate in fixing this problem.” Matthew Chaney, Va. License

   Suspension Law Faces New Challenges, VA. LAWYERS WEEKLY (Jan. 9, 2019), available at,

   https://valawyersweekly.com/2019/01/09/va-license-suspension-law-faces-new-challenges/.

          After the preliminary injunction hearing and the blockage of repeal by the House of

   Delegates, Governor Northam proposed budget amendment number 33 (the “Budget

   Amendment”) to provide temporary relief to individuals whose driver’s licenses had been

   automatically suspended for failure to pay court debt. Gov. Northam Announces Budget

   Amendment to Eliminate Driver’s License Suspensions for Nonpayment of Court Fines and

   Costs, OFFICE OF GOVERNOR (Mar. 26, 2019), http://bit.ly/GovNorthamBudget. The General

   Assembly passed the Budget Amendment in the House of Delegates by a vote of seventy to

   twenty-nine, and in the Senate by a vote of thirty to eight. See 2019 Session HB 1700 Budget

   Bill, VA. LIS, http://lis.virginia.gov/cgi-bin/legp604.exe?191+sum+HB1700. The Budget

   Amendment suspended the operation of § 46.2-395 from July 1, 2019 to June 30, 2020 (one

   budget cycle). See 2019 Session HB 1700 Governor’s Recommendation, VA. LIS,

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   http://lis.virginia.gov/cgi-bin/legp604.exe?191+amd+HB1700AG. It also waived associated

   reinstatement fees for driver’s licenses otherwise eligible for reinstatement. See id. The General

   Assembly’s passage of the Budget Amendment was undoubtedly influenced by this litigation.

   See Mel Leonor, Northam seeks to halt license suspensions for unpaid court fees, RICHMOND

   TIMES-DISPATCH (Mar. 26, 2019), available at, https://www.richmond.com/news/local/

   government-politics/northam-seeks-to-halt-license-suspensions-for-unpaid-court-

   fees/article_8ed0c8dd-9445-5f7e-bbb4-f7fe0c7169f7.html (quoting Delegate Chris Jones as

   saying, “We took what I thought was a conservative approach by leaving the money in to

   respond to any potential judicial action that would invalidate the existing statute”).

          Twenty days after the General Assembly passed the Budget Amendment, Defendant

   again moved to dismiss the case as moot or, alternatively, to stay the case to allow the General

   Assembly an additional chance to pass a permanent repeal. (ECF 142; ECF 143.) Plaintiffs

   vigorously opposed this motion. (ECF 156.) Plaintiffs noted that the General Assembly might

   not repeal § 46.2-395, noting that it had failed to do so for years, and that staying the action

   would waste time. (Id. at 14–16.) Plaintiffs wanted “their day in court” without delay. (Id. at

   16.) On June 28, 2019, the Court denied the motion to dismiss but granted the motion to stay

   pending the General Assembly’s 2020 session. Stinnie v. Holcomb, 396 F. Supp. 3d 653, 661

   (W.D. Va. 2019); (ECF 215). The same day, the Court canceled the bench trial that had been

   scheduled for August. (ECF 216.)

          During its 2020 regular session, the General Assembly considered proposed legislation to

   permanently eliminate § 46.2-395’s unconstitutional mandate. See 2020 Session SB1, VA. LIS,

   https://lis.virginia.gov/cgi-bin/legp604.exe?ses=201&typ=bil&val=sb1. One of those bills was

   SB1 introduced by Senator Stanley on November 18, 2019. See id. On January 10, 2020,



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   Defendant sent a letter to Senator Stanley regarding the legislation. (Exhibit A.) In the letter,

   Defendant gave advice about how to repeal § 46.2-395 effectively. (Id.) Defendant also

   recognized the direct impact this case was having on the legislative process:

          As you are aware DMV is currently a party to the Stinnie v. Holcomb case, in
          which the issue under consideration is driver’s license suspensions for failure to
          pay court fines and costs pursuant to § 46.2-395. On June 28, 2019, the Court
          stayed the litigation until after the close of the 2020 General Assembly Session
          to allow the legislature to repeal § 46.2-395. An emergency enactment clause is
          needed to demonstrate to the Court that matters at issue in Stinnie v. Holcomb
          litigation have been addressed by the General Assembly. This should result in
          the pending litigation being dismissed, relieving the Department from continuing
          to incur costly legal fees.

   (Id. at 2 (emphasis added).) Defendant even went so far as to “offer a substitute” bill that had all

   of his recommended changes. (Id.) In other words, Defendant was actively calling for a repeal

   in order to stem his losses in this litigation from continuing to defend a law this Court had

   already concluded likely violated procedural due process.

          The General Assembly passed SB1ER on February 26, 2020, with an overwhelming

   majority in both the House and Senate. See 2020 Session SB1, VA. LIS, https://lis.virginia.gov/

   cgi-bin/legp604.exe?ses=201&typ=bil&val=sb1 (showing SB1ER passed both chambers with

   the support of at least three-quarters of each chamber’s members). Governor Northam signed

   SB1ER in April, and it took effect on July 1, 2020. See id.

          SB1ER repeals § 46.2-395. 2020 Session SB1ER, VA. LIS, http://lis.virginia.gov/cgi-

   bin/legp604.exe?201+ful+SB1ER+pdf, at lines 1244–45. It also requires Defendant to reinstate

   driving privileges suspended solely because of § 46.2-395:

          [T]he Commissioner of the Department of Motor Vehicles shall reinstate a
          person’s privilege to drive a motor vehicle that was suspended prior to July 1,
          2019, solely pursuant to § 46.2-395 of the Code of Virginia and shall waive all
          fees relating to reinstating such person’s driving privileges. Nothing in this act
          shall require the Commissioner to reinstate a person’s driving privileges if such



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          privileges have been otherwise lawfully suspended or revoked or if such person is
          otherwise ineligible for a driver’s license.

   Id. at lines 1246–51.

          On May 7, 2020, the parties stipulated that this action is moot. The parties asked this

   Court to retain jurisdiction to determine Plaintiffs’ entitlement to attorneys’ fees, and agreed to

   brief fees in a bifurcated format. (ECF 231; ECF 232.) First, the parties are briefing Plaintiffs’

   entitlement to recover attorneys’ fees as prevailing parties. (ECF 232.) Second, the parties will

   brief the amount and reasonableness of the fees to be awarded. (Id.)

                                         LEGAL STANDARDS

          Section 1988 incentivizes private attorneys to take on civil rights litigation to protect the

   voices of the unheard, litigate the causes of the ignored, and guarantee the liberties promised to

   all. Cf. Pa. v. Del. Valley Citizens’ Council for Clean Air, 478 U.S. 546, 559 (1986) (“Section

   1988 was enacted to insure that private citizens have a meaningful opportunity to vindicate their

   rights protected by the Civil Rights Acts.”); Riverside v. Rivera, 477 U.S. 561, 576 (1986)

   (“Congress enacted § 1988 specifically because it found that the private market for legal services

   failed to provide many victims of civil rights violations with effective access to the judicial

   process.”). Just as Congress intended, section 1988 makes a plaintiff into a “private attorney

   general.” Texas State Teachers Ass’n v. Garland Indep. Sch. Dist., 489 U.S. 782, 793 (1989). It

   does so by allowing prevailing parties to recover fees. 42 U.S.C. § 1988.

           “Title 42 U.S.C. § 1988 provides that in federal civil rights actions ‘the court, in its

   discretion, may allow the prevailing party, other than the United States, a reasonable attorney’s

   fee as part of the costs.’” Hensley v. Eckerhart, 461 U.S. 424, 426 (1983); see also Lefemine v.

   Wideman, 568 U.S. 1, 4 (2012); Rum Creek Coal Sales, Inc. v. Caperton, 31 F.3d 169, 174 (4th

   Cir. 1994); Fed. R. Civ. P. 54(d). “The purpose of § 1988 is to ensure ‘effective access to the

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   judicial process’ for persons with civil rights grievances.” Hensley, 461 U.S. at 429. Therefore,

   “a prevailing plaintiff should ordinarily recover an attorney’s fee unless special circumstances

   would render such an award unjust.” Id. (internal quotations omitted).

           “The touchstone of the prevailing party inquiry must be the material alteration of the

   legal relationship of the parties in a manner which Congress sought to promote in the fee

   statute.” Texas State Teachers Ass’n, 489 U.S. at 792–93. And “[t]his change must be marked

   by ‘judicial imprimatur.’” CRST Van Expedited, Inc. v. E.E.O.C., 136 S. Ct. 1642, 1646 (2016).

   In other words, “[a] plaintiff ‘prevails,’ . . . ‘when actual relief on the merits of his claim

   materially alters the legal relationship between the parties by modifying the defendant’s behavior

   in a way that directly benefits the plaintiff.’” Lefemine, 568 U.S. at 4. “[A]n injunction or

   declaratory judgment, like a damages award, will usually satisfy that test.” Id.

           And “the prevailing party inquiry does not turn on the magnitude of the relief obtained.”

   Farrar v. Hobby, 506 U.S. 103, 114 (1992); Texas State Teachers Ass’n, 489 U.S. at 791–92 (“If

   the plaintiff has succeeded on ‘any significant issue in litigation which achieve[d] some of the

   benefit the parties sought in bringing suit,’ the plaintiff has crossed the threshold to a fee award

   of some kind.”) (emphasis added).

                                               ARGUMENT

           Plaintiffs meet the standard for qualifying as prevailing parties for a simple reason—this

   Court’s judicial imprimatur (in the form of a merits-based preliminary injunction) materially

   altered the relationship among the parties in a way that directly benefited Plaintiffs. Before the

   preliminary injunction, Plaintiffs suffered ongoing unconstitutional deprivations of their driver’s

   licenses. After the preliminary injunction, Plaintiffs did not. This Court’s preliminary injunction

   made that happen. Then this Court paused the litigation, over Plaintiffs’ objections, to give the



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   General Assembly an additional chance to repeal § 46.2-395. (ECF 215.) It did. But those

   subsequent events do not detract from the legal significance of this Court’s preliminary

   injunction (which provided full and continuing relief to Plaintiffs, such that the repeal did not

   provide them additional material relief) and Plaintiffs’ entitlement to fees as prevailing parties.

          To the contrary, binding and persuasive authorities establish Plaintiffs’ entitlement to fees

   as prevailing parties because of this Court’s preliminary injunction. The Supreme Court

   precedent discussed below compels this Court to designate Plaintiffs as prevailing parties.

   Circuit courts from around the country would agree. Finally, contrary to Defendant’s anticipated

   arguments, Buckhannon does not apply here to block Plaintiffs’ entitlement to fees.

   I.     Supreme Court precedent confirms Plaintiffs’ entitlement to fees.

          A.      Winter announces a new, more stringent merits-based standard for obtaining
                  a preliminary injunction.

          In Winter, the Court recited the general rule that “[a] plaintiff seeking a preliminary

   injunction must establish that he is likely to succeed on the merits, that he is likely to suffer

   irreparable harm in the absence of preliminary relief, that the balance of equities tips in his favor,

   and that an injunction is in the public interest.” Winter, 555 U.S. at 20 (emphasis added). The

   Court also considered whether there must be a possibility or likelihood of irreparable harm to

   issue a preliminary injunction. Id. at 21. The Court determined that “plaintiffs seeking

   preliminary relief [must] demonstrate that irreparable injury is likely in the absence of an

   injunction.” Id. at 22 (emphasis in original).

          The Winter standard is more stringent than previous standards used in the Fourth Circuit.

   For example, the Fourth Circuit in Henderson noted how “Winter requires a likelihood of

   irreparable injury, a higher standard” than the pre-Winter test embodied by the Fourth Circuit’s

   prior holdings in Blackwelder Furniture Co. of Statesville, Inc. v. Seilig Mfg. Co., 550 F.2d 189

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   (4th Cir. 1977). Henderson for Nat’l Labor Relations Bd. v. Bluefield Hospital Co., LLC, 902

   F.3d 432, 438 n.* (4th Cir. 2018); see also Veasey v. Wilkins, 158 F. Supp. 3d 466, 469

   (E.D.N.C. 2016) (noting the preliminary injunction standard “has changed significantly” after

   Winter). Importantly, Winter requires that a plaintiff must “clearly demonstrate that [she] will

   likely succeed on the merits.” Veasey, 158 F. Supp. 3d at 469 (emphasis added). This is in stark

   contrast to the prior standard, which permitted a plaintiff to obtain a preliminary injunction based

   only on establishing that the “case presents a ‘substantial question’” on the merits. Compare

   Smyth ex rel. Smyth v. Rivero, 282 F.3d 268, 276 (4th Cir. 2002), with Winter, 555 U.S. at 20.

   This Court, correctly, used the Winter standard when deciding Plaintiffs’ Motion for Preliminary

   Injunction. Stinnie, 355 F. Supp. 3d at 527–32.

          B.      Lefemine clarifies and defines when a plaintiff is a prevailing party.

          Under Lefemine, “[a] plaintiff prevails . . . when actual relief on the merits of his claim

   materially alters the legal relationship between the parties by modifying the defendant’s behavior

   in a way that directly benefits the plaintiff.” See Lefemine, 568 U.S. at 4 (internal quotations

   omitted). In making this inquiry, monetary relief is not required; injunctive relief standing alone

   can be sufficient. See id.

          Lefemine is illustrative of the reasons why Plaintiffs in this case are prevailing parties. In

   that case, the plaintiff filed a complaint alleging that county police officers had violated his First

   Amendment rights. See id. at 3. The police had been threatening to charge him with breaching

   the peace for holding graphic signs during an anti-abortion protest. See id. at 2–3. The district

   court, after considering “dueling motions for summary judgment . . . . permanently enjoined the

   defendants from engaging in content-based restrictions on [plaintiff’s] display of graphic signs

   under similar circumstances.” Id. at 3 (internal quotations omitted). The district court, however,



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   denied plaintiff damages and attorneys’ fees. Id. at 3–4. The Fourth Circuit affirmed, but the

   Supreme Court vacated the Fourth Circuit’s decision. Id. at 4–5.

           The Court noted that “[it has] repeatedly held that an injunction or declaratory judgment,

   like a damages award, will usually satisfy [the prevailing party] test.” Id. at 4. The Court noted

   that “[plaintiff] brought [the] suit in part to secure an injunction to protect himself from the

   defendants’ standing threat of sanctions. And he succeeded in removing that threat.” Id. at 4–5.

   As a result, the district court’s injunction “worked the requisite material alteration in the parties’

   relationship.” Id. at 5.

           At bottom, under Lefemine, the focal point of the Court’s analysis on a fee petition is the

   before-and-after situation of the parties. See id. at 5 (“Before the ruling, the police intended to

   stop Lefemine from protesting with his signs; after the ruling, the police could not prevent him

   from demonstrating in that manner.”). And, as described below, a before-and-after analysis of

   this Court’s preliminary injunction shows that Plaintiffs prevailed in this case.

           C.      Reading Winter, Lefemine, and other relevant Supreme Court precedent
                   together compels the conclusion that Plaintiffs are prevailing parties.

           The above-cited Supreme Court case law compels the conclusion that Plaintiffs are

   prevailing parties entitled to attorneys’ fees.

           First, this Court’s preliminary injunction met the newer, more stringent preliminary

   injunction standard announced in Winter. See generally Stinnie, 355 F. Supp. 3d 514. It was a

   merits-based preliminary injunction based on Plaintiffs’ likelihood of success. See id. at 532.

           Second, this Court’s preliminary injunction provided the requisite judicial imprimatur.

   See CRST Van Expedited, 136 S. Ct. at 1646 (recognizing Buckhannon’s requirement that the

   change achieved by a prevailing party must have judicial imprimatur); Lefemine, 568 U.S. at 4

   (recognizing injunctive relief can be sufficient for prevailing party status); see also People

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   Against Police Violence v. City of Pittsburgh, 520 F.3d 226, 233 (3d Cir. 2008) (reciting that “[a]

   preliminary injunction issued by a judge carries all of the judicial imprimatur necessary to satisfy

   Buckhannon”) (internal quotations omitted).

          Third, this Court’s preliminary injunction materially altered Defendant’s behavior. See

   Lefemine, 568 U.S. at 4. The preliminary injunction enjoined the unconstitutional application of

   § 46.2-395 against Plaintiffs. (See ECF 127 at 1.) Stopping the harm caused by the

   unconstitutional application of § 46.2-395 was the heart of the litigation, and Plaintiffs won on it.

   (Compare ECF 84 (relief requested in the amended complaint), with ECF 127 at 2 (relief granted

   in the preliminary injunction).)

          Fourth, that material alteration directly benefitted Plaintiffs, see Lefemine, 568 U.S. at 4,

   by halting the unconstitutional operation of § 46.2-395. (ECF 127.) Before the preliminary

   injunction, § 46.2-395 harmed Plaintiffs by depriving them of their driver’s licenses for failure to

   pay court debt with no process to determine their ability to pay. As a direct result of the

   preliminary injunction, Defendant could no longer unconstitutionally enforce § 46.2-395 against

   Plaintiffs, Defendant had to lift Plaintiffs’ suspensions under § 46.2-395, and, if any Plaintiff had

   a driver’s license suspended solely under § 46.2-395, Defendant was required to reinstate that

   driver’s license without requiring the payment of any statutorily mandated reinstatement fees.

   This is precisely the sort of legal change the above authorities contemplate.

   II.    Other precedent supports a finding that Plaintiffs are prevailing parties.

          A.      Courts across the country recognize that obtaining a preliminary injunction
                  can be sufficient to confer prevailing party status.

          Circuits across the country recognize that obtaining a preliminary injunction can be

   sufficient to confer prevailing party status, especially when, like here, the preliminary injunction

   is grounded in a merits-based determination.

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             CIRCUIT                                    RELEVANT LANGUAGE

                                 The second circuit recognized that: “When a party receives a
                                 stay or preliminary injunction but never obtains a final judgment,
                                 attorney’s fees are proper if the court’s action in granting the
                                 preliminary injunction is governed by its assessment of the
    Haley v. Pataki, 106 F.3d    merits.” Id. at 483. In this case, the second circuit affirmed the
    478 (2d Cir. 1997).
                                 district court’s decision to find plaintiffs to be prevailing parties
                                 when they prevailed on a preliminary injunction, the defendant
                                 then started “complying with the preliminary injunction order” by
                                 giving plaintiffs the relief sought, and even though the action
                                 never proceeded to a final judgment. See id. at 480–81, 484.
                                 The third circuit agreed that “relief obtained via a preliminary
                                 injunction can, under appropriate circumstances, render a party
                                 ‘prevailing.’” Id. at 232. In that case, the third circuit affirmed
    People Against Police
                                 the trial court’s determination that plaintiffs were prevailing
    Violence v. City of
                                 parties when plaintiffs received a preliminary injunction on the
    Pittsburgh, 520 F.3d 226
                                 merits, the defendant did not appeal the preliminary injunction
    (3d Cir. 2008).
                                 and was bound by it for a period of time, and defendant avoided a
                                 final judgment by changing the law in such a way that gave
                                 plaintiffs the requested relief. See id. at 233–34.
                                 The fifth circuit concluded a plaintiff was a prevailing party when
    Dearmore v. City of
                                 plaintiff obtained a preliminary injunction but the case was
    Garland, 519 F.3d 517
                                 mooted before the final judgment when the defendant amended
    (5th Cir. 2008).
                                 the law at issue. Id. at 526.
                                 The eighth circuit held a plaintiff was a prevailing party when a
                                 preliminary injunction on the merits blocked defendant from
    Rogers Group, Inc. v. City
                                 enforcing a law, and the defendant later repealed the ordinance.
    of Fayetteville, Ark., 683
                                 See id. at 910–11. Plaintiff was still a prevailing party, even
    F.3d 903 (8th Cir. 2012).
                                 though defendant mooted the case through the repeal. See id. at
                                 904–07.
                                 The ninth circuit recognized that parties who obtain a preliminary
                                 injunction can be prevailing parties for fees purposes. Id. at 716.
    Higher Taste, Inc. v. City
                                 In that case, the ninth circuit determined that plaintiff was a
    of Tacoma, 717 F.3d 712
                                 prevailing party when it won a preliminary injunction that
    (9th Cir. 2013).
                                 remained in effect until the parties settled the case. See id. at
                                 714–15, 718–19.
                                 The tenth circuit determined that plaintiffs were prevailing parties
    Kansas Judicial Watch v.     when they received a preliminary injunction on the merits that
    Stout, 653 F.3d 1230         provided some of the complaint’s requested relief, where the
    (10th Cir. 2011).            preliminary injunction persisted until “the actions of third parties
                                 mooted the case.” See id. at 1240.
    Common Cause/Georgia         The eleventh circuit held that plaintiffs were prevailing parties
    v. Billups, 554 F.3d 1340    when they prevailed on a preliminary injunction that stayed in
    (11th Cir. 2009).            place “until Georgia repealed the law at issue.” Id. at 1355–56.


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               CIRCUIT                                    RELEVANT LANGUAGE

                                  As further described below, the D.C. circuit held that a party was
    Select Milk Producers,        a prevailing party when “the preliminary injunction at issue . . .
    Inc. v. Johanns, 400 F.3d     was a judgment that resulted in a court-ordered change in the
    939 (D.C. Cir. 2005).         legal relationship between the parties and gave [plaintiffs] the
                                  concrete and irreversible redress that they sought.” Id. at 942.

          B.      Cases that are factually analogous support a finding that Plaintiffs are
                  prevailing parties.

          Veasey’s prevailing party analysis is instructive in deciding this Petition. See Veasey v.

   Wilkins, 158 F. Supp. 3d 466 (E.D.N.C. 2016). Veasey wanted to receive a concealed carry

   permit. See id. at 468. But, at the time, a North Carolina statute, N.C. Gen. Stat. § 14-415-12,

   “required a person to demonstrate American citizenship prior to obtaining a concealed carry

   permit.” Id. at 468. Veasey moved for a preliminary injunction to prevent defendants from

   “enforcing the citizenship requirement of NCGS 14-415.12(a)(1) against lawful permanent

   residents.” See id. The Court granted the motion. Id.

          After entry of the preliminary injunction, Veasey applied for her permit, and the

   defendant sheriff granted it. See id. About two months later, “Governor McCrory signed House

   Bill 562, which amended [§ 14.415-12] to eliminate its citizenship requirement, into law.” Id.

   The district court granted the defendant’s motion to dismiss the case as moot but “retained

   jurisdiction to decide the issue of attorney’s fees.” Id.

          The district court noted how Lefemine’s “facts strongly parallel[ed]” the facts of its case.

   See id. at 470. It further stated that “the reasoning in Lefemine counsels that the key question is

   whether a plaintiff succeeded in obtaining a judicially-sanctioned benefit.” Id. The district court

   completed the required before-and-after comparison and awarded attorney’s fees. Compare

   Lefemine, 568 U.S. at 5, with Veasey, 158 F. Supp. 3d at 470, 473 (“Before the preliminary

   injunction ruling, defendants intended not to give Ms. Veasey a concealed carry permit; after the

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   ruling, Sheriff Wilkins issued her a concealed permit.”) (emphasis added). Moreover, Veasey

   noted that a post-Winter preliminary injunction was necessarily an imprimatur that the plaintiff

   had “clearly demonstrate[d] that [he] will likely succeed on the merits.” 158 F. Supp. 3d at 469

   (quoting Real Truth About Obama, Inc. v. Fed. Election Comm’n, 575 F.3d 342, 346–47 (4th

   Cir. 2009), vacated on other grounds, 559 U.S. 1089 (2010)).

          Veasey’s prevailing party analysis should apply here. Plaintiffs received a preliminary

   injunction, on the merits, in a 42 U.S.C. § 1983 action. (ECF 127 at 1.) That preliminary

   injunction awarded relief requested, leading to a material change in the legal relationship

   between Plaintiffs and Defendant. (Id.) For example, this Court ordered Plaintiffs’ suspensions

   lifted and driver’s licenses reinstated without payment of reinstatement fees, unless there was

   another suspension not imposed under § 46.2-395. (Id.) And before Plaintiffs could have their

   day in court, this Court stayed the case to give the General Assembly an additional chance to

   repeal § 46.2-395, which ultimately mooted the case. (ECF 215.) These facts largely track those

   in Veasey. There is no principled reason why this Court should come to a different outcome.

          The eleventh circuit’s prevailing party analysis in Common Cause/Georgia v. Billups is

   also instructive. See generally 554 F.3d 1340. There, plaintiffs challenged the constitutionality

   of a voter ID statute. See id. at 1346. The district court granted a preliminary injunction,

   preventing the statute’s enforcement. See id. The district court decided plaintiffs “had proved a

   substantial likelihood of success on the merits of their claims[.]” Id. The defendant appealed the

   preliminary injunction, but while the appeal was pending, the legislature repealed the statute and

   replaced it with a new one. See id. Litigation continued regarding the new statute, and plaintiffs

   sought fees regarding the challenge to the earlier statute. See id. at 1346–49.

          The eleventh circuit determined that plaintiffs were “prevailing parties because the



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   preliminary injunction they obtained materially altered their legal relationship with the election

   officials.” Id. at 1356. And the “injunction remained effective until Georgia repealed the law at

   issue.” Id. At bottom, Georgia repealed its statute, and Virginia repealed § 46.2-395. But that

   fact does not detract from the parties’ prevailing party status when the preliminary injunction

   granted relief on the merits and remained in effect until the case was dismissed after being

   mooted by a legislative fix, as happened in both cases.

          The D.C. circuit’s decision in Select Milk Producers also provides guidance. See Select

   Milk Producers, 400 F.3d 939. In that case, the plaintiffs challenged the Secretary of

   Agriculture’s proposed rule that would have raised the price of Class III butterfat. See id. at 941.

   Had the new rule gone into effect, plaintiffs would have lost millions of dollars. See id. But “the

   [d]istrict [c]ourt granted Milk Producers’ motion for a preliminary injunction enjoining the

   Secretary from imposing a separate price for Class III butterfat. The Government did not appeal

   the preliminary injunction or otherwise seek to defend its position. Instead, the Secretary of

   Agriculture issued a new rule that did not include a separate price for Class III butterfat.” Id.

   Then both parties “stipulated to dismissal of the case as moot.” Id.

          The D.C. circuit concluded that under these facts Milk Producers were prevailing parties.

   See id. at 950. The court first noted that “there was a court-ordered change in the legal

   relationship between Milk Producers and the Secretary.” Id. at 947. Specifically, the

   preliminary injunction stopped the new regulation’s enforcement. See id. This relief was

   “concrete and irreversible” because of the money Milk Producers avoided losing. See id.

   Second, the court determined the “preliminary injunction was a judgment rendered in favor of

   Milk Producers[.]” Id. at 948. Third, the preliminary injunction gave Milk Producers judicial

   relief. See id. Before the preliminary injunction Milk Producers faced the specter of the new



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   regulation; after the injunction, they did not. Compare Lefemine, 568 U.S. at 5, with Select Milk,

   400 F.3d at 948–49.

          Like in Select Milk, this Court ordered the change in relationship among the parties.

   (ECF 126; ECF 127.) Defendant could have appealed from this Court’s preliminary injunction,

   but did not do so. 28 U.S.C. § 1292(a)(1) (granting the courts of appeals jurisdiction over

   “[i]nterlocutory orders . . . granting . . . injunctions”); see also Select Milk, 400 F.3d at 948

   (noting how “it is well established that preliminary injunctions are appealable orders”); Swift

   Beef Co. v. Alex Lee, Inc., 760 F. App’x 160, 163 (4th Cir. 2019) (same). This Court’s

   preliminary injunction granted Plaintiffs’ requested relief and protected them from the

   unconstitutional deprivation of their licenses under § 46.2-395. The relief granted safeguarded

   Plaintiffs’ rights and shielded them from additional financial harm. (ECF 127.) For example,

   Defendant had to remove § 46.2-395 suspensions from Plaintiffs’ driver’s licenses, and

   Defendant could not charge a fee to reinstate those licenses suspended due to § 46.2-395. (Id. at

   1.) The relief granted also made it so that Defendant could not enforce § 46.2-395 against

   Plaintiffs without notice and a hearing. (Id.) In doing so, the Court gave Plaintiffs new

   opportunities to seek and maintain stable employment, access to medical care, access to

   opportunities for their children, access to religious worship, and the like. See, e.g., Stinnie, 355

   F. Supp. 3d at 521 (finding that that “[l]oss of a driver’s license adversely affects people’s ability

   to gain and maintain employment, often leading to a reduction in income”); id. at 531 n.8 (“Not

   only does Plaintiffs’ testimony emphasize their need for a driver’s license to meet non-economic

   needs, such as medical care for themselves and their families, but evidence also shows that the

   majority of Virginians rely on cars to travel to work, and that the lack of a license reduces job

   opportunities.”) (internal citations omitted); id. at 532 (determining that “[m]oney alone would



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   not alleviate Plaintiffs’ harms or release Plaintiffs from the cycle of hardships caused by § 46.2-

   395” but the relief granted could). Plaintiffs received a judgment in their favor that gave them

   tangible, judicial relief.

           Veasey, Common Cause/Georgia, and Select Milk are three factually analogous cases that

   meaningfully considered how a preliminary injunction was sufficient to confer prevailing party

   status on those plaintiffs. Those courts would find Plaintiffs here to be entitled to fees, and this

   Court should as well.

           C.      Fourth Circuit precedent is consistent with the conclusion that Plaintiffs are
                   prevailing parties.

           “Our federal judicial system requires that when the Supreme Court issues an opinion, its

   pronouncements become law of the land.” United States v. AMC Entertainment, Inc., 549 F.3d

   760, 771 (9th Cir. 2008). As stated in Part I, recent Supreme Court precedent compels this Court

   to find Plaintiffs are prevailing parties. Nevertheless, there is an old opinion in the Fourth

   Circuit, Smyth ex rel. Smyth v. Rivero, 282 F.3d 268 (4th Cir. 2002), that may be read by

   Defendant to suggest a different result than the one now compelled. But even if Smyth at one

   point would have suggested Plaintiffs were not prevailing parties, that case no longer holds any

   weight here. It has been rendered obsolete by more recent Supreme Court cases, and courts from

   around the country and even within the Fourth Circuit recognize its irrelevance. The Fourth

   Circuit would not expand Smyth to apply here, and this Court should not presume it would.

            First, Smyth was decided under a different, and since discarded, standard for granting a

   preliminary injunction. Compare Smyth, 282 F.3d at 276 (using the since abandoned test for a

   preliminary injunction under Blackwelder Furniture Co., 550 F.2d 189), with Winter, 555 U.S. at

   20 (focusing the preliminary injunction standard on the plaintiff’s likelihood of success on the

   merits); see also Pashby v. Delia, 709 F.3d 307, 320–21 (4th Cir. 2013) (noting how after Winter

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   the Fourth Circuit “recalibrated” its preliminary injunction test that had been embodied in

   Blackwelder). This matters because the very core of Smyth revolved around concerns regarding

   the “necessarily abbreviated” nature of preliminary injunctions at the time. See Smyth, 282 F.3d

   at 276. So when the Supreme Court issued Winter, which changed the preliminary injunction

   analysis, it pulled the chair out from under Smyth.

          Second, if the Fourth Circuit faced this question today, it would rule in a manner

   consistent with the other circuits in light of recent Supreme Court precedent; therefore, this Court

   should do so as well. (See Section II.A, supra.) Indeed, other courts have recognized Smyth’s

   obsolescence and outlier status. See, e.g., Veasey, 158 F. Supp. 3d at 470 (“The Court concludes

   that the Fourth Circuit's holding in Smyth that a plaintiff who is awarded a preliminary injunction

   cannot constitute a prevailing party under § 1988 is untenable in light of Lefemine, the changed

   merits standard following Winter, and the facts of this case.”); Select Milk Producers, 400 F.3d

   at 946 (disagreeing with Smyth’s unsupportable per se rule); People Against Police Violence, 520

   F.3d at 233 n.4 (specifically declining to follow Smyth).

          Third, Smyth predates nearly all of the most relevant Supreme Court precedent, including

   Lefemine and Winter. The Fourth Circuit would not follow abandoned circuit case law, and, in

   fact, has a duty to follow the later-decided Supreme Court precedent. See Etheridge v. Norfolk &

   Western Ry. Co., 9 F.3d 1087, 1090–91 (4th Cir. 1993) (determining that later-decided Supreme

   Court precedent “rejected the reasoning” a prior Fourth Circuit precedent was based on, and, as a

   result, the prior Fourth Circuit precedent was no longer correctly reciting the law).

   III.   Buckhannon’s catalyst theory rule does not apply here.

          Plaintiffs’ theory for entitlement to attorneys’ fees is not the catalyst theory. So,

   Buckhannon’s anti-catalyst theory rule has no applicability here. Any attempt by Defendant to



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   ask this Court to apply Buckhannon’s anti-catalyst theory rule is misguided for at least four

   reasons.

          First, Buckhannon disavowed “catalyst theory,” which is not the theory Plaintiffs advance

   here. See Buckhannon Bd. & Care Home, Inc. v. W. Va. Dep’t of Health & Human Resources,

   532 U.S. 598, 603–10 (2001). The “‘catalyst theory’ . . . posits that a plaintiff is a ‘prevailing

   party’ if it achieves the desired result because the lawsuit brought about a voluntary change in

   the defendant’s conduct.” Id. at 601 (emphasis added). But Plaintiffs did not obtain their

   requested relief because Defendant had a change of heart.

          Plaintiffs obtained their relief because this Court enjoined Defendant through its judicial

   imprimatur in the form of a preliminary injunction. Stinnie, 355 F. Supp. 3d at 532 (finding it

   likely that § 46.2-395 was unconstitutional); (ECF 127). This Court’s preliminary injunction

   was not “voluntary.” E.g., United States v. Blackman, Case No. 3:04CV00046, 2005 U.S. Dist.

   LEXIS 25622, at *16 (W.D. Va. Oct. 19, 2005) (Moon, J.) (finding the defendant to be in

   criminal contempt for violating an injunction), affirmed by No. 06-4167 (4th Cir. May 31, 2007);

   Enovative Techs., LLC v. Leor, 86 F. Supp. 3d 445, 446 (D. Md. 2015) (finding that the

   “Defendant [was] in civil contempt for violating the [district court’s] Preliminary Injunction”);

   see also Select Milk, 400 F.3d at 949 (noting the “injunction, not the Secretary’s voluntary

   change in conduct, afforded Milk Producers the relief they sought”). And, as recited above, after

   this Court entered its preliminary injunction, the General Assembly took action. See Leonor,

   supra (detailing Delegate Jones’ actions taken after the preliminary injunction with the money in

   the budget).

          To the contrary, Plaintiffs’ Petition asks this Court to determine whether Plaintiffs’

   success in obtaining the preliminary injunction, which granted them the relief they requested,



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   makes them prevailing parties. The answer is already clear because of the Supreme Court’s

   analysis in Lefemine, detailed above. Under Lefemine, when a plaintiff achieves “actual relief on

   the merits of his claim” that “materially alters the legal relationship between the parties by

   modifying the defendant’s behavior in a way that directly benefits the plaintiff,” that plaintiff is a

   prevailing party. Lefemine, 568 U.S. at 4. In Lefemine, like here, that relief came in the form of

   an injunction. See id. at 4–5.

              Second, Buckhannon does not bar Plaintiffs who obtain preliminary injunctions from

   prevailing party status. See, e.g., Dearmore v. City of Garland, 519 F.3d 517, 524 (5th Cir.

   2008) (“Buckhannon does not stand for the proposition that a defendant should be allowed to

   moot an action to avoid the payment of the plaintiff’s attorney’s fees when a district court grants

   a preliminary injunction based upon an unambiguous indication of probable success on the

   merits.”); Select Milk, 400 F.3d at 946 (“We are not alone in the view that Buckhannon does not

   reject the possibility that preliminary injunctions may be sufficient in some certain circumstances

   to render plaintiffs ‘prevailing parties’ under federal fee-shifting statutes.”); Kansas Judicial

   Watch, 653 F.3d at 1237–38 (recognizing that Buckhannon does not bar a party who obtained a

   preliminary injunction from being deemed a prevailing party).

              That much is clear because, six years after Buckhannon, the Supreme Court in Sole noted

   it was still an open question. See Sole v. Wyner, 551 U.S. 74, 86 (2007) (“We express no view

   on whether, in the absence of a final decision on the merits of a claim for permanent injunctive

   relief, success in gaining a preliminary injunction may sometimes warrant an award of counsel

   fees.”).

              Third, Buckhannon is a pre-Winter case. Since Buckhannon came down, the standard for

   granting a preliminary injunction has changed meaningfully. See Winter, 555 U.S. at 22. The



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   newer Winter standard focuses on likelihood of success on the merits and irreparable harm. See

   id. at 20. Accordingly, preliminary injunctions now focus on merits-based determinations.

          Fourth, even Buckhannon itself indicated a final judgment on the merits was not an

   absolute requirement. Buckhannon, 532 U.S. at 604 (noting it has “held that settlement

   agreements enforced through a consent decree may serve as the basis for an award of attorney's

   fees”); see also Select Milk Producers, 400 F.3d at 946 (noting the Supreme Court showed in

   Buckhannon “that a plaintiff need not obtain a final judicial determination on the merits in order

   to be considered a ‘prevailing party’”).

                                              CONCLUSION

          Section 46.2-395 trampled upon Plaintiffs’ constitutional rights. This Court rightly

   enjoined its enforcement, ending the “nightmarish spiral” that trapped Plaintiffs. Plaintiffs are

   prevailing parties under Supreme Court precedent. And courts around the country are reaching

   that conclusion in factually analogous cases. This Court should do the same. For these reasons,

   Plaintiffs ask this Court to (1) grant their Petition for Attorneys’ Fees and Litigation Expenses,

   (2) hold that they are prevailing parties and their attorneys are entitled to fees and other costs and

   expenses under 42 U.S.C. § 1988, (3) enter the Proposed Order attached as Exhibit A to the

   Petition filed contemporaneously herewith, and (4) invite the parties to submit briefing on the

   reasonableness and amount of fees to be awarded on a schedule consistent with this Court’s

   Order dated May 7, 2020.

                                                          Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that on July 2, 2020, I electronically filed the foregoing Plaintiffs’

   Memorandum in Support of Petition for Attorneys’ Fees and Litigation Expenses with the Clerk

   of Court using the CM/ECF System, which will send a notification of such filing to all CM/ECF

   participants, including counsel for the Defendant.


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